                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET NO.: 5:05CR23-V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )                      SEQUESTRATION
                                )                            ORDER
ENRIQUE HERNANDEZ GONZALEZ, )                                Rule 615
                Defendant.      )                    Federal Rules of Evidence
________________________________)

       IT IS, HEREBY, ORDERED that any person who will be or may become a witness

in this case (except those excluded by Rule 615) is prohibited from being in the courtroom

or within hearing of it during the trial of this matter except at the time of his or her own

testimony. All witnesses in this case are ordered also not to talk about prior testimony with

any witness or other person who has been in the courtroom during testimony. All

witnesses are further ordered not to talk with anyone who will be or may become a witness

about any subject related to this trial. The parties in this case are ordered to relay the

contents of this order to their own witnesses and are further ordered to scan the courtroom

periodically to facilitate removal of such witnesses if any of them have inadvertently come

into the courtroom. The parties and their respective lawyers are ordered not to divulge the

content of testimony already given in this case to any prospective witness.

       SO ORDERED.




    Case 5:05-cr-00023-RLV-DCK          Document 37      Filed 07/12/05     Page 1 of 2
                       Signed: July 11, 2005




Case 5:05-cr-00023-RLV-DCK   Document 37   Filed 07/12/05   Page 2 of 2
